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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 21-CV-61856-RAR

 INDIANA ALEMAN, et al.,

        Plaintiffs,

 v.

 RESURGENT CAPITAL SERVICES,

       Defendant.
 __________________________________________/

                             ORDER SCHEDULING MEDIATION

        The mediation conference in this matter shall be held with Barbara Locke on January 22,

 2022 at 10:00 a.m. The mediation conference shall take place in person. Requests to appear

 virtually by videoconference or other remote means must be made by motion providing good cause.

 A report of the mediation must be filed within seven (7) days thereafter.

        DONE AND ORDERED in Fort Lauderdale, Florida, this 24th day of November, 2021.




                                                         _________________________________
                                                         RODOLFO A. RUIZ II
                                                         UNITED STATES DISTRICT JUDGE
